Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 1 of 34 PageID #: 821



 1     Foster C. Johnson, (SBN 289055)
 2     fjohnson@azalaw.com
       Alisa A. Lipski
 3     alipski@azalaw.com
 4     Ahmad, Zavitsanos, Anaipakos,
       Alavi & Mensing P.C.
 5     1221 McKinney, Ste. 3460
 6     Houston, TX 77010
       (713) 655-1101 – Main
 7     (713) 655-0062 – Facsimile
 8
       Attorneys for Defendant
 9     Saint Lawrence Communications LLC
10

11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13

14

15     HTC CORPORATION, HTC                      Case No. 8:15-CV-00378 CJC
       AMERICA, INC.,                            (DFMx)
16
                     Plaintiffs,                 SAINT LAWRENCE’S REPLY
17                                               IN SUPPORT OF ITS MOTION
                             v.                  TO DISMISS OR TRANSFER
18
       ACACIA RESEARCH
19     CORPORATION, SAINT LAWRENCE               [Filed concurrently with the
       COMMUNICATIONS LLC,                       Supplemental Declarations of
20
                     Defendant.                  Demetrios Anaipakos and Cristin
21                                               Wagner, and Declarations of Foster
22
                                                 Johnson, Clayton Haynes, and David
                                                 Rosmann]
23

24
                                                 Hearing:
                                                 Date: September 14, 2015
25                                               Time: 1:30 p.m.
26
                                                 Ctrm: 9B
                                                 Judge: Hon. Cormac J. Carney
27                                               Action Filed: March 9, 2015
28


       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 2 of 34 PageID #: 822



   1                                          TABLE OF CONTENTS
   2

   3
       INTRODUCTION ...................................................................................................... 1
   4
         I.    HTC’s suit should be dismissed as a bad faith placeholder action because it
   5           misled Saint Lawrence about its settlement intentions. ................................... 3
   6     II.   HTC’s suit should be dismissed because the Court lacks personal jurisdiction
               over Saint Lawrence. ...................................................................................... 10
   7
               A. Saint Lawrence is not subject to general jurisdiction ............................. 10
   8
               B.     Saint Lawrence is not an alter-ego of Acacia Research Corporation..... 15
   9
                      1.     No showing of financial fraud. ....................................................... 15
  10
                      2.     No showing of unity of interest. ..................................................... 17
  11
               C.     Saint Lawrence is not subject to specific jurisdiction. ........................... 18
  12
               D. No jurisdictional discovery is warranted. ............................................... 19
  13
         III. The public and private transfer factors strongly favor transfer to Texas. ...... 20
  14
               A.       The public interest factors weigh strongly in favor of transfer. .......... 20
  15
               B.     The private interest factors—location of evidence, compulsory process,
  16                  and litigation costs—weigh strongly in favor of transfer. ...................... 23
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                         i
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 3 of 34 PageID #: 823



   1                                        TABLE OF AUTHORITIES
   2
       CASES
   3   Ali v. Carnegie Inst. of Wash.,
   4     306 F.R.D. 20 (2014) ............................................................................................ 14

   5   Amazon.com v. Cendant Corp.,
   6    404 F. Supp. 2d 1256 (W.D. Wash. 2005) ................................................ 20, 21, 24

   7   AmSouth Bank v. Dale,
   8    386 F.3d 763 (6th Cir.2004) .................................................................................... 6
   9   Boschetto v. Hansing,
  10    539 F.3d 1011 (9th Cir. 2008)............................................................................... 19
  11   Boston Scientific Corp. v. Wall Cardiovascular Technologies, LLC,
  12    647 F. Supp. 2d 358 (D. Del. 2009) ...................................................................... 16
  13   Calvert v. Huckins,
  14    875 F. Supp. 674 (E.D. Cal. 1995) .................................................................. 15, 17
  15   Charles Schwab & Co. v. Duffy,
  16    1998 WL 879659 (N.D. Cal. Dec. 8, 1998) ............................................................ 5
  17   Children's Network, LLC v. PixFusion LLC,
  18    722 F. Supp. 2d 404 (S.D.N.Y. 2010) ................................................................... 22
  19   Cisco Systems, Inc. v. Tivo, Inc.,
  20     2012 WL 3279532 (N.D. Cal. Aug. 12, 2012)...................................................... 22
  21
       Creative Nail Design, Inc. Mycone Dental Supply Co.,
  22    2012 WL 2106212 (S.D. Cal. June 11, 2012) ......................................................... 5
  23
       Daimler AG v. Bauman,
  24    134 S. Ct. 746 (2014) ..................................................................................... passim
  25
       Dainippon Screen Mfg. Co., Ltd. v. CFMT, Inc.,
  26    142 F.3d 1266 (Fed. Cir. 1998) ................................................................. 13, 14, 15
  27
       Data Disc., Inc. v. Sys. Tech. Assoc., Inc.,
  28    557 F.2d 1280 n.1 (9th Cir. 1977)......................................................................... 19
                                         ii
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 4 of 34 PageID #: 824



   1

   2   Decker Coal Co. v. Commonwealth Edison Co.,
        805 F.2d 834 (9th Cir.1986) .................................................................................. 20
   3

   4   DeFeo v. Procter & Gamble Co.,
        831 F.Supp. 776 (N.D.Cal.1993) ............................................................................ 4
   5

   6   Delano Farms Co. v. Cal. Table Grape Com’n,
        623 F.Supp.2d 1144 (E.D. Cal 2009) .................................................................... 14
   7

   8   Doe v. Unocal Corp.,
        248 F.3d 915 (9th Cir. 2001) ................................................................................. 18
   9

  10   Electric Corp. v. Vector Products, Inc.,
         286 F.Supp. 953 (N.D. Ill. 2003) .......................................................................... 13
  11

  12   Ergo Licensing, LLC v. Cardinal Health, Inc.
         2009 WL 2021926 (D. Maine July 13, 2009) ....................................................... 15
  13

  14   Firstmark Capital Corp. v. Hempel Financial Corp.,
         859 F.2d 92 (9th Cir.1988) .................................................................................... 16
  15

  16   Galileo International Partnership v. Global Village Communication, Inc.,
        1996 WL 452273 (N.D.Ill.1996)............................................................................. 8
  17

  18   Heller Financial, Inc., v. Midwhey Powder Co.,
        883 F.2d 1286 (9th Cir.1989)................................................................................ 20
  19

  20   Hill v. City of Clovis,
        2012 WL 787609 (E.D. Cal. Mar. 9, 2012) .......................................................... 18
  21

  22   ICON Health & Fitness, Inc. v. Beachbody, LLC,
         2011 WL 1899390 (D. Utah May 19, 2011) ........................................................... 8
  23

  24   In re Volkswagen of Am., Inc.,
         566 F.3d 1349 (Fed. Cir. 2009) ............................................................................. 22
  25

  26   Intervet, Inc. v. Merial Ltd.,
         535 F.Supp.2d 112 (D.D.C. 2008) ...................................................................... 7, 8
  27

  28
                                        iii
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 5 of 34 PageID #: 825



   1      Katzir’s Floor & Home Design, Inc. v. M-MLS.com,
   2      394 F.3d 1143 (9th Cir. 2004)............................................................................... 18

   3   Kramer Motors, Inc. v. British Leyland, Ltd.,
   4    628 F.2d 1175 (9th Cir.1980)................................................................................ 18

   5   LSI Indus. Inc. v. Hubbell Lighting, Inc.,
   6     232 F.3d 1369 (Fed. Cir. 2000) ............................................................................. 10

   7   McJunkin Corp. v. Cardinal Sys., Inc.,
   8    190 F. Supp. 2d 874 (S.D.W. Va. 2002) ................................................................. 9
   9   Mohr v. Margolis, Ainsworth, & Kinlaw Consulting, Inc.,
  10    434 F.Supp.2d 1051 (D. Kan. 2006) ....................................................................... 8
  11   No Cost Conference, Inc. v. Windstream Comm., Inc.,
  12    940 F. Supp. 2d 1285 (S.D. Cal. 2013) ................................................................. 16
  13   NuCal Foods, Inc. v. Quality Egg LLC,
  14    887 F. Supp. 2d 977 (E.D. Cal. 2012) ................................................................... 17
  15   Obsolete Ford Parts v. Ford Motor Co.,
  16    306 F.Supp.2d 1154 ................................................................................................ 5
  17   Odom v. Microsoft Corp.,
  18    596 F.Supp.2d 995 (E.D. Tex. 2009) .................................................................... 23
  19   Pacific Employers Ins. Co. v. M/V Capt. W.D. Cargill,
  20    751 F.2d 801 (5th Cir.1985) .................................................................................... 8
  21
       Paragon Indus., L.P. v. Denver Glass Machinery, Inc.,
  22    2008 WL 3890495 (N.D. Tex. Aug. 22, 2008) ..................................................... 22
  23
       Pebble Beach Co. v. Caddy,
  24     453 F.3d 1151 (9th Cir. 2006)............................................................................... 19
  25
       Petzilla, Inc. v. Anser Innovation LLC,
  26     2014 WL 474434 (N.D. Cal. Sept. 23, 2014) ....................................................... 15
  27
       Regents of the University of California v. Eli Lilly and Company,
  28     119 F.3d 1559 (Fed.Cir.1997) ............................................................................... 20
                                        iv
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 6 of 34 PageID #: 826



   1   Riviera Trading Corp. v. Oakley, Inc.,
   2     944 F. Supp. 1150 (S.D.N.Y. 1996) ........................................................................ 9

   3   Seaflex, Inc. v. Fall Prot. Sys., Inc.,
   4     2007 WL 7239322 (S.D. Tex. Nov. 20, 2007)...................................................... 13

   5   Simmons Bedding Co. v. Leggett & Platt, Inc.,
   6     2012 WL 11909449 (W.D. Wis. Mar. 27, 2012) .................................................. 13

   7   Sonora Diamond Corp. v. Superior Court,
   8     83 Cal. App. 4th 523 (2000).................................................................................. 17
   9   Sorenson v. Big Lots Stores,
  10     638 F.Supp.2d 1219 (S.D. Cal. 2009) ........................................................... 8, 9, 13
  11   Stragent, LLC v. Pioneer Elecs. Inc.,
  12     2013 WL 8467476 (E.D. Tex. May 8, 2013) ........................................................ 23
  13   Teledyne Tech. Inc. v. Harris Corp.,
  14     2011 WL 2605995 (C.D. Cal. July 1, 2011) ................................................... 1, 4, 5
  15   Tempco Elec. Heater Corp. v. Omega Eng'g, Inc.,
  16     819 F.2d 746 (7th Cir. 1987) ................................................................................... 8
  17   Van Dusen v. Barrack,
  18    376 U.S. 612 (1964) .............................................................................................. 24
  19   Wells Fargo & Co. v. Wells Fargo Exp. Co.,
  20    556 F.2d 406 (9th Cir.1977) .................................................................................. 17
  21
       Xilinx, Inc. v. Papst Licensing GMBH & co.KG,
  22     -- F.Supp.3d --, 2015 WL 4149166 ................................................................. 12, 19
  23
       Xoxide, Inc. v. Ford Motor Co.,
  24    448 F.Supp.2d 1188 (C.D. Cal. 2006) ............................................................ 1, 4, 9
  25
       Zide Sport Shop of Ohio, Inc. v. Ed Tobergte Assoc.,
  26     16 Fed. Appx. 433 ........................................................................................... 6, 7, 8
  27
       Z-Line Designs, Inc. v. Bell’O Int’l, LLC,
  28     218 F.R.D. 663 (N.D. Cal. 2003) ........................................................................ 3, 5
                                         v
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 7 of 34 PageID #: 827



   1   STATUTES
   2   28 U.S.C. § 1404(a) .................................................................................................. 20

   3   OTHER AUTHORITIES
   4   Alan M. Trammell, A Tale of Two Jurisdictions,
        68 VAND. L. REV. 501 (2015)................................................................................ 10
   5

   6   Eric H. Weisblatt & Claire Frezza, Who to Sue and Where in Anda Litigation:
         Personal Jurisdiction Post-Daimler,
   7     69 FOOD & DRUG L.J. 351 (2014) ......................................................................... 11
   8
       Judy M. Cornett & Michael H. Hoffheimer, Good-Bye Significant Contacts:
   9     General Personal Jurisdiction After Daimler AG v. Bauman,
  10     76 OHIO ST. L.J. 101, 105 (2015) .......................................................................... 11
  11   Phillip S. Sykes & Laura McCarthy, Are You Defending Your Clients Where They
  12     Don't Belong? Corporate Defendants' New Potent Defense Is Personal
         (Jurisdiction, That Is),
  13     82 DEF. COUNS. J. 282 (2015) ............................................................................... 11
  14
       RULES
  15   Fed. R. Civ. P. 4(m) .................................................................................................... 7
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                        vi
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 8 of 34 PageID #: 828



 1                                                  INTRODUCTION
 2                In its opposition, HTC concedes that it had a bad faith plan, undisclosed to
 3     Saint Lawrence, to file a declaratory judgment action in California while at the
 4     same time promising Saint Lawrence that HTC was committed to additional
 5     licensing negotiations. HTC should not be rewarded for its bad faith conduct.
 6                HTC admits that it was told on January 23, 2015 by Saint Lawrence’s
 7     counsel that Saint Lawrence would file an infringement action if the parties could
 8     not reach a settlement. Indeed, Saint Lawrence made clear that it would file suit
 9     “immediately” upon the breakdown of settlement negotiations. 1              HTC also
10     concedes that it (1) filed a declaratory judgment action just days after pledging its
11     commitment to settling the dispute; (2) never told Saint Lawrence that it had filed
12     suit; and (3) never served its complaint until weeks after Saint Lawrence filed its
13     patent infringement action in Texas.
14                As numerous cases out of the Central District have held, such acts are a
15     textbook misuse of the Declaratory Judgment Act. See, e.g., Xoxide, Inc. v. Ford
16     Motor Co., 448 F.Supp.2d 1188 (C.D. Cal. 2006); Teledyne Tech. Inc. v. Harris
17     Corp., 2011 WL 2605995 (C.D. Cal. July 1, 2011). HTC’s opposition entirely
18     ignores these cases. This Court should not.
19                Further, in trying to avoid transfer to the court where Saint Lawrence’s
20     patent claims have been pending for the last two years, HTC’s opposition
21     downplays the significant investment that the court in the Eastern District of
22     Texas has already made in addressing the issues raised in this case, and offers
23     fictional arguments regarding the supposed importance of proceeding in this
24     District.
25                Because Saint Lawrence and HTC, as well as LG Electronics, Motorola,
26     and ZTE, are all parties to proceedings in the Eastern District of Texas, the Texas
27     court is best situated to completely adjudicate Saint Lawrence’s patent rights
28     1
           See Supplemental Declaration of Demetrios Anaipakos at ¶ 2.

       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 9 of 34 PageID #: 829



   1   against these infringing entities in a single forum. All five Saint Lawrence patents
   2   at issue here are currently pending before Judge Gilstrap. Those cases are also
   3   much further along than this new case.        Claim construction briefing and a
   4   corresponding technical tutorial addressing 74 claim terms, including over 40
   5   indefiniteness arguments, are currently pending before the court in the LG
   6   Electronics matter, with trial scheduled for April 2016.         Likewise, in the
   7   consolidated Motorola and ZTE cases, claim construction is scheduled for January
   8   2016, with trial set for July 2016.
   9         Judge Gilstrap has already gained knowledge and familiarity with the
  10   specific HD Voice technology at issue by virtue of these cases. The Texas court is
  11   thus in the best position to manage the complex and overlapping patent issues
  12   raised by these four cases. And it is undeniable that it will be more efficient to
  13   resolve these claims in the Eastern District of Texas, rather than have this Court
  14   start from the beginning without education about the patents. HTC’s proposal that
  15   this case be litigated in the Central District would create terrible problems of
  16   judicial administration, impede the ability of the Texas court to coordinate all
  17   pending litigation, and raise the distinct possibility of duplicative litigation and
  18   inconsistent rulings.
  19         Finally, HTC ignores the threshold test for exercising personal
  20   jurisdictional in patent cases post-Daimler, choosing instead to rely exclusively on
  21   outdated and overruled cases. HTC’s arguments that Saint Lawrence is “at home”
  22   in a state where it is neither incorporated nor headquartered do not comport with
  23   current Supreme Court precedent.          And HTC comes nowhere close to
  24   demonstrating that Saint Lawrence is an alter-ego of Acacia.
  25         The straightforward conclusion is that this case belongs in Texas, not here.
  26   The Court should therefore dismiss HTC’s declaratory judgment suit or transfer
  27   the case.
  28
                                         2
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 10 of 34 PageID #: 830



   1 I.       HTC’s suit should be dismissed as a bad faith placeholder action because
   2          it misled Saint Lawrence about its settlement intentions.

   3
              Declaratory judgment actions are properly dismissed as anticipatory “when

   4
       the plaintiff in the first-filed action filed suit on receipt of “specific, concrete

   5
       indications” that a suit by the defendant was imminent. Z-Line Designs, Inc. v.

   6
       Bell’O Int’l, LLC, 218 F.R.D. 663, 665 (N.D. Cal. 2003). HTC’s sole argument

   7
       against dismissal is that “[t]here is no evidence of any imminent threat of

   8
       litigation by SLC.” (Opp. at 17). That is demonstrably false. HTC admits that

   9
       Saint Lawrence’s counsel Demetrios Anaipakos specifically informed HTC on

  10
       January 23, 2015 that Saint Lawrence would file a patent infringement lawsuit in

  11
       Texas if the parties could not reach a settlement. (Opp. at 17-18). Indeed, Mr.

  12
       Anaipakos told HTC that Saint Lawrence would file suit “immediately” upon the

  13
       breakdown of settlement negotiations. Anaipakos Supp. Dec. at ¶ 2. HTC’s

  14
       suggestion that this was not a “specific, concrete” indication that litigation was

  15
       imminent is frivolous.

  16
              Worse, HTC does not address the bad faith conduct that permitted it to gain

  17
       first-filed status.

  18
              First, HTC admits that it decided to file a declaratory judgment action after

  19
       being informed that Saint Lawrence intended to file a patent infringement lawsuit

  20
       in Texas if the parties could not reach a settlement. (Opp. at 17). However, HTC

  21
       did not disclose that decision to Saint Lawrence. Rather, as HTC concedes, it

  22
       intentionally misled Saint Lawrence by disclosing just the opposite intention: an

  23
       intention to continue licensing negotiations. See Wagner Dec. Ex. E. Just three

  24
       days before filing suit, HTC’s counsel Paul Brown assured Saint Lawrence that

  25
       “HTC is happy to continue discussing the possibility of licensing” and that “I look

  26
       forward to hearing from you in relation to this offer.” Id. Brown further promised

  27
       that “[i]n the meantime, we will review the amendments that Acacia has made to

  28
       the license and revert in due course.” Id. HTC never communicated that it had
                                         3
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 11 of 34 PageID #: 831



   1   already determined to file a declaratory judgment action in California.
   2         These promises were obviously misleading. No reasonable person would
   3   have understood “happy to continue discussing the possibility of licensing” or “I
   4   look forward to hearing from you in relation to this offer” as notification that HTC
   5   intended to bring suit.
   6         Mr. Brown’s e-mail had the intended effect. Saint Lawrence responded to
   7   HTC’s offer and waited to resume what it mistakenly believed were good faith
   8   negotiations. See Wagner Dec. Ex. F; Anaipakos Dec. ¶ 4. Contrary to its stated
   9   intentions, however, HTC used these misrepresentations to carry out its secret
  10   plan to win the “race to the courthouse” by filing a preemptive declaratory
  11   judgment action. See DeFeo v. Procter & Gamble Co., 831 F.Supp. 776, 778
  12   (N.D.Cal.1993) (“The Declaratory Judgment Act is not to be invoked to deprive a
  13   plaintiff of his conventional choice of forum and timing, precipitating a disorderly
  14   race to the courthouse.”).
  15         Saint Lawrence’s opening motion cited numerous cases out of the Central
  16   District (as well as other jurisdictions) holding that dismissal is mandatory where
  17   a plaintiff promises to engage in good faith settlement negotiations only to file a
  18   declaratory judgment action. Mot. at 17-20. HTC’s opposition does not discuss a
  19   single one of these cases, much less distinguish them.
  20         Both Xoxide, Inc. v. Ford Motor Co., 448 F.Supp.2d 1188 (C.D. Cal. 2006),
  21   and Teledyne Technologies Inc. v. Harris Corp., 2011 WL 2605995 (C.D. Cal.
  22   July 1, 2011), are directly on point. In Xoxide, the court found that plaintiff had
  23   filed an anticipatory suit where Xoxide, like HTC, initially responded to the
  24   defendant’s letters by indicating a willingness to engage in “confidential
  25   settlement discussion” while also requesting additional time “to complete [its]
  26   consideration and response.”     Id. at 1191.    Instead, Xoxide secretly filed a
  27   declaratory judgment action, which—like HTC—it failed to serve on the
  28   defendant. Id. at 1194. In dismissing, Xoxide’s first-filed declaratory judgment
                                         4
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 12 of 34 PageID #: 832



   1   action, the district court held that “secretly filing a lawsuit in Los Angeles while
   2   giving the impression to Ford’s representatives that it was making best efforts to
   3   negotiate a settlement” amounted to “an improper attempt at forum shopping.” Id.
   4         Similarly, in Teledyne, the court found that Teledyne had filed an improper
   5   anticipatory action where the defendant had made clear in writing that “if the
   6   parties could not reach an agreement, [defendant] was prepared to take the next
   7   step.” 2011 WL 2605995 at *3. Teledyne responded by expressing interest in
   8   “advancing the ball towards the goal line” and pledged to “keep in touch in
   9   advance of subsequent meetings.” Id. But instead of negotiating, Teledyne filed a
  10   declaratory judgment action. On those facts, the court concluded that “principles
  11   of justice weigh in favor of dismissal.” Id.
  12         HTC offers no argument or explanation as to why the identical facts here do
  13   not require an identical outcome. HTC is similarly silent about the numerous
  14   other cases Saint Lawrence cited on this point. See Charles Schwab & Co. v.
  15   Duffy, 1998 WL 879659, at *1 (N.D. Cal. Dec. 8, 1998) (dismissing declaratory
  16   judgment action where plaintiff’s attorney “misled” defendant regarding
  17   plaintiff’s “settlement intentions”); Creative Nail Design, Inc. Mycone Dental
  18   Supply Co., 2012 WL 2106212, at *1 (S.D. Cal. June 11, 2012) (dismissing suit
  19   where plaintiff filed declaratory judgment suit after parties “agreed to continue the
  20   settlement discussions going forward”); Z-Line Designs, Inc. v. Bell’O Int’l, LLC,
  21   218 F.R.D. 663, 666 (N.D. Cal. 2003) (dismissing declaratory judgment for where
  22   “misleading communication” by “plaintiff's counsel … created a reasonable
  23   expectation that [plaintiff] would explore settlement rather than litigation.”);
  24   Obsolete Ford Parts v. Ford Motor Co., 306 F.Supp.2d 1154, 1158 (dismissing
  25   suit when plaintiff “attempted to stall Defendant’s suit by requesting additional
  26   time” to investigate then, without notifying or serving Ford, filed suit).
  27         HTC’s deafening silence on this point speaks volumes about the merits of
  28   its case. Parties like HTC who speak out of both sides of their mouth—promising
                                         5
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 13 of 34 PageID #: 833



   1   good faith negotiations, then filing suit to “win the race to the courthouse”—act in
   2   bad faith. More egregiously, HTC admits that it never told Saint Lawrence that
   3   HTC had filed suit. (Opp. at 19). Instead, HTC continued to negotiate with
   4   Saint Lawrence for months as if no such lawsuit had ever been filed. See Mot. at
   5   7-8; 20; Wagner Dec. at ¶ 11. Never once did HTC mention that it had secretly
   6   filed a placeholder declaratory judgment action in an attempt to deprive Saint
   7   Lawrence of its natural venue for a patent infringement suit. Wagner Dec. at ¶ 11.
   8         Only one conclusion follows:         “If Plaintiffs’ conduct was not mere
   9   deceptive gamesmanship, then they would have informed Defendants that they did
  10   not intend to make another settlement offer and would prefer to seek a judicial
  11   resolution.” Zide Sport Shop of Ohio, Inc. v. Ed Tobergte Assoc., 16 Fed. Appx.
  12   433, 438. Under these circumstances, HTC’s actions can only be interpreted as
  13   the kind of “procedural fencing” that courts condemn. See AmSouth Bank v. Dale,
  14   386 F.3d 763, 790 (6th Cir.2004) (finding procedural fencing when “[j]ust one
  15   day before filing its declaratory action, AmSouth’s counsel sent a letter stating
  16   that [the declaratory plaintiff] was ‘still considering’ the [declaratory defendant's]
  17   demand and its options, and … would ‘be in touch in the near future concerning a
  18   written response and a possible meeting”). Such conduct mandates dismissal.
  19         Second, HTC’s opposition also fails to address controlling authority out of
  20   this circuit which holds that a plaintiff who files a declaratory judgment action yet
  21   then fails to serve it loses any first-filed priority. (See Mot. at 20-21 discussing
  22   doctrine). HTC filed its declaratory judgment action on March 9, 2015, but failed
  23   to serve it until June 18, 2015—more than two weeks after Saint Lawrence filed
  24   and served HTC with its patent infringement suit in Texas. Johnson Dec. Exs. A-
  25   B. HTC’s 102 day delay in serving its DJ action merits dismissal.
  26         Sorenson v. Big Lots Stores—which HTC’s opposition simply ignores—is
  27   directly on point. 638 F.Supp.2d 1219, 1221 (S.D. Cal. 2009). In that case, Big
  28   Lots filed a declaratory judgment action months before Sorenson filed its patent
                                         6
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 14 of 34 PageID #: 834



   1   infringement action. Id. Yet, Big Lots, like HTC, made no effort to prosecute its
   2   lawsuit. Nor did Big Lots bother to serve its lawsuit until weeks after the patent
   3   holder filed its infringement action. In dismissing Big Lots’ declaratory judgment
   4   action, the court observed that “filing first and then sitting on the action without
   5   service, as occurred here, renders the first-filed action filed in name only and in
   6   such substance as to accord it any priority.” Id.
   7         HTC provides no convincing rationale for why the same result does not
   8   apply here. The sole authority that HTC offers in its defense is Intervet, Inc. v.
   9   Merial Ltd., 535 F.Supp.2d 112 (D.D.C. 2008), a lone outlier from a District of
  10   Columbia trial court with remarkably different facts, offered for the proposition
  11   that “the first-to-file rule” is not overcome by the allegation that HTC “did not
  12   immediately serve the complaint.” (Opp. 19) (emphasis added).
  13         Intervet is distinguishable. In that case, the gap between the filing and
  14   service of the relevant complaints was a matter of weeks. Id. at 113. Here, the
  15   gap between filing and service was almost four months. Moreover, the dispositive
  16   fact is not that HTC failed to “immediately” serve its complaint, but rather that
  17   HTC made no effort to serve or prosecute its declaratory judgment action
  18   whatsoever until Saint Lawrence filed its substantive patent infringement action in
  19   Texas. Dismissal is appropriate because HTC’s “lack of service” is “evidence of
  20   gamesmanship and procedural fencing, factors that … weigh heavily in favor
  21   dismissing a declaratory action.” Zide, 16 F.App’x at 438.
  22         Nor, contrary to HTC’s assertion, is Federal Rule of Civil Procedure 4(m)
  23   relevant here. See Fed. R. Civ. P. 4(m) (“If a defendant is not served within 120
  24   days after the complaint is filed, the court … must dismiss the action without
  25   prejudice … or order that service be made.”).
  26         Saint Lawrence is not suggesting that HTC’s complaint should be dismissed
  27   for lack of service under Rule 4(m)’s 120-day service requirement. Rather—as
  28   numerous federal courts have recognized—filing a declaratory judgment action
                                         7
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 15 of 34 PageID #: 835



   1   but then failing to serve it until months later after the patent holder files a
   2   substantive action strips that filing of any presumptive first-filed “priority.” See,
   3   e.g., Sorenson, 638 F.Supp.2d at 1221; Electric Corp. v. Vector Products, Inc.,
   4   286 F.Supp. 953, 955 (N.D. Ill. 2003) (dismissing suit where “it appear[ed] as
   5   though [plaintiff] merely filed the suits so as to have the choice of forum if
   6   litigation ensued”); Mohr v. Margolis, Ainsworth, & Kinlaw Consulting, Inc., 434
   7   F.Supp.2d 1051, 1062 (D. Kan. 2006) (same).
   8         More generally, Intervet is an extreme outlier that no other court has ever
   9   relied upon for the proposition for which HTC cites it. Indeed, Intervet runs
  10   against the great weight of authority.       See, e.g., Zide, 16 F.App’x at 436
  11   (dismissing declaratory judgment action on basis of 100-day gap between filing
  12   and service); Galileo International Partnership v. Global Village Communication,
  13   Inc., 1996 WL 452273, *1 (N.D.Ill.1996) (dismissing declaratory judgment suit
  14   on basis of 50 day gap between filing and service); ICON Health & Fitness, Inc. v.
  15   Beachbody, LLC, 2011 WL 1899390, at *1 (D. Utah May 19, 2011) (dismissing
  16   declaratory judgment action on basis of 34 day gap between filing and service);
  17   Pacific Employers Ins. Co. v. M/V Capt. W.D. Cargill, 751 F.2d 801, 804 (5th
  18   Cir.1985) (dismissing for unexplained two month delay of service).
  19         The 102-day gap between when HTC filed suit and when HTC belatedly
  20   served suit is greater than any of these cases. And, as Intervet departs from the
  21   generally accepted approach, it is both non-controlling and unpersuasive.
  22         The Declaratory Judgment Act is intended to allow a potential civil
  23   defendant to obtain a declaration of the legal effect of a course of action without
  24   suffering an ongoing threat of litigation. Tempco Elec. Heater Corp. v. Omega
  25   Eng'g, Inc., 819 F.2d 746, 750 (7th Cir. 1987). It is not a tool by which potential
  26   litigants may secure their desired forum. Id. at 750. More fundamentally, “where
  27   the potential infringement defendant merely files a declaratory judgment action,
  28   and takes absolutely no steps to serve the complaint or prosecute the case, it
                                         8
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 16 of 34 PageID #: 836



   1   cannot be said that the party legitimately uses the Declaratory Judgment Act.”
   2   Sorenson, 638 F.Supp.2d at 1221.
   3         If HTC had been truly concerned about the legal effects of its cell phone
   4   technology, it had more than an adequate opportunity to purse a declaratory
   5   judgment in California. HTC offers no reasons why it delayed serving suit for
   6   four months if it harbored such concern about its rights. Instead, it appears as
   7   though HTC only filed suit so as to have its choice of forum if litigation ensued.
   8         That is an improper use of the Declaratory Judgment Act. Declaratory
   9   judgment actions are not insurance policies that plaintiffs may take out “silently”
  10   and hold in their “hip pocket” in case settlement negotiations do not go their way.
  11   See McJunkin Corp. v. Cardinal Sys., Inc., 190 F. Supp. 2d 874, 879 (S.D.W. Va.
  12   2002) (dismissing where “[t]he declaratory judgment action appears to have been
  13   filed silently, while the parties’ negotiations continued, and held in Plaintiffs’ hip
  14   pocket to preempt Defendants’ potential … action”).
  15         The lines of cases embodied by Xoxide and Sorenson provide two,
  16   independent grounds upon which this Court should dismiss. That HTC’s bad faith
  17   conduct falls squarely within the fairway of both doctrines only serves to reinforce
  18   the correct outcome.
  19         Finally, the policy of promoting settlement weighs heavily in favor of the
  20   Texas action. See Riviera Trading Corp. v. Oakley, Inc., 944 F. Supp. 1150,
  21   1158-59 (S.D.N.Y. 1996) (“Potential plaintiffs should be encouraged to attempt
  22   settlement discussions ... prior to filing lawsuits without fear that the defendant
  23   will be permitted to take advantage of the opportunity to instigate litigation in a
  24   district of its own choosing before the plaintiff files a complaint.”) (citations
  25   omitted).
  26         To impose the “first to file” presumption in this instance, “would
  27   unreasonably penalize [Saint Lawrence], which attempted to resolve the dispute
  28   before filing suit.” Xoxide, 448 F.Supp.2d at 1194 (citations omitted). Holding
                                         9
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 17 of 34 PageID #: 837



   1   otherwise, moreover, would effectively sanction and encourage others to engage
   2   in the same deceptive practices that HTC employed here against Saint Lawrence.
   3   Allowing HTC to proceed in this forum based on a secret, anticipatory suit that
   4   HTC filed solely to ensure its choice of venue neither comports with Central
   5   District precedent nor the underlying purpose of the Declaratory Judgment Act.
   6  Accordingly, this case should be dismissed.
   7
     II.   HTC’s suit should be dismissed because the Court lacks personal
           jurisdiction over Saint Lawrence.
   8
           A. Saint Lawrence is not subject to general jurisdiction
   9
              HTC relies exclusively upon overruled case law for its argument that Saint
  10
       Lawrence is subject to general jurisdiction in California.     Specifically, HTC
  11
       argues that “General jurisdiction arises when a defendant maintains ‘continuous
  12
       and systematic’ contacts with the forum state even the cause of action has no
  13
       relation to those contacts.”    (Opp. at 9) (quoting LSI Indus. Inc. v. Hubbell
  14
       Lighting, Inc., 232 F.3d 1369, 1375 (Fed. Cir. 2000)). That is no longer the
  15
       standard for general jurisdiction.
  16
              The Supreme Court explicitly rejected the general jurisdiction standard
  17
       relied upon by HTC in Daimler AG v. Bauman, 134 S. Ct. 746 (2014). The Court
  18
       held that finding that a nonresident defendant should be subject to general
  19
       jurisdiction “in every State in which [the defendant] engages in a substantial,
  20
       continuous, and systematic course of business,” would be “unacceptably
  21
       grasping.” Daimler, 134 S.Ct. at 760.        Rather, the test is “whether that
  22
       corporation’s affiliations are so ‘continuous and systematic’ as to render [it]
  23
       essentially at home in the forum State.” Id. (emphasis added). Daimler—which
  24
       HTC’s opposition ignores—represents a “sea change” in general jurisdiction
  25
       doctrine. 2
  26

  27
       2
         Alan M. Trammell, A Tale of Two Jurisdictions, 68 VAND. L. REV. 501, 504
       (2015) (Daimler represents a “sea change in the Supreme Court's general
  28   jurisdiction” case law); Eric H. Weisblatt & Claire Frezza, Who to Sue and Where
                                        10
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 18 of 34 PageID #: 838



   1         The Daimler Court held that a corporate defendant is typically “at home” in
   2   only two states—its state of incorporation and the state of its principle place of
   3   business. Id. Further, the Court emphasized that only in an “exceptional case”
   4   would a corporation’s “operations in a forum other than its place of incorporation
   5   or principle place of business … be so substantial and of such a nature as to render
   6   the corporation at home in that State.” Id. at 761, n.19.
   7         The result was dramatic: “In a single opinion, Daimler changed more than
   8   60 years of conventional wisdom and effectively reduced the number of possible
   9   venues for a plaintiff to assert general jurisdiction over a national company from
  10   all 50 states to just two: its state of incorporation and the state of its principal
  11   place of business.”3
  12         Saint Lawrence is not incorporated in California, nor does it have its
  13   principle place of business there. Key Dec. ¶ 3. These facts, alone, are strong
  14   evidence that HTC is not “at home” in California. Daimler, 134 S.Ct. at 760; see
  15   also Goodyear, 131 S.Ct. at 2853–54 (noting that “the paradigm forum for the
  16   exercise of general jurisdiction ... [is the corporation’s] domicile, place of
  17   incorporation, and principal place of business” (citation omitted)).
  18         HTC argues that Saint Lawrence is subject to general jurisdiction in
  19   California because its patent monetization activities constitute “continuous and
  20   systematic” business contacts. (Opp. 13-14). Specifically, HTC suggests that,
  21   taken together, Saint Lawrence’s licensing offers, the presence of its California
  22
       in Anda Litigation: Personal Jurisdiction Post-Daimler, 69 FOOD & DRUG L.J. 351,
  23
       358 (2014) (“Daimler revolutionized the application of general jurisdiction over
  24   companies”).
       3
         See Phillip S. Sykes & Laura McCarthy, Are You Defending Your Clients Where
  25
       They Don't Belong? Corporate Defendants' New Potent Defense Is Personal
  26   (Jurisdiction, That Is), 82 DEF. COUNS. J. 282, 287 (2015); see also Judy M. Cornett
  27
       & Michael H. Hoffheimer, Good-Bye Significant Contacts: General Personal
       Jurisdiction After Daimler AG v. Bauman, 76 OHIO ST. L.J. 101, 105 (2015)
  28   (“Daimler is a game changer.”)
                                        11
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 19 of 34 PageID #: 839



   1   affiliate Acacia Research Corporation, and a single in-person meeting with HTC
   2   in Los Angeles constitute sufficient contacts to subject Saint Lawrence to any and
   3   all types of lawsuits in California. But post-Daimler, that argument is wrong as a
   4   matter of law.
   5         Even if Saint Lawrence’s business contacts were “continuous and
   6   systematic,” a defendant’s “substantial, continuous, and systematic course of
   7   business” within a state is insufficient to justify an exercise of general jurisdiction.
   8   Daimler, 134 S.Ct. at 761; see also Xilinx, Inc. v. Papst Licensing GMBH &
   9   co.KG, -- F.Supp.3d --, 2015 WL 4149166, at *5 (“Even if it is true that
  10   Defendants engage in ‘continuous and systematic’ business in the forum state, that
  11   does not mean that Defendants’ presence in the forum state is so substantial that it
  12   should fairly be subject to suit ‘on causes of action arising from dealings entirely
  13   distinct from those activities.”) (citations omitted).
  14         Saint Lawrence’s contacts with the State of California are plainly
  15   insufficient to subject it to general jurisdiction in California. Merely conducting
  16   business in California from a home base in Texas is not “exceptional,” even when
  17   such business generates substantial revenue. In Daimler, the Supreme Court held
  18   that Daimler AG, the German manufacturer of Mercedes–Benz automobiles, was
  19   not subject to general jurisdiction in California “despite its multiple offices,
  20   continuous operations, and billions of dollars’ worth of sales there.” 134 S.Ct. at
  21   772 (Sotomayor, J., concurring).
  22         Similarly, merely conducting sporadic licensing activities in California is
  23   insufficient to confer general jurisdiction. See Xilinx, 2015 WL 4149166, at *5
  24   (holding that “targeting” the Silicon Valley technology industry in California with
  25   one’s patent licensing business is insufficient to confer general jurisdiction). If
  26   the U.S. Supreme Court held that the German manufacturer of Mercedes–Benz
  27   automobiles was not subject to general jurisdiction in California, then California
  28   certainly lacks general jurisdiction over Saint Lawrence, which has far more
                                        12
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 20 of 34 PageID #: 840



   1   modest ties to California than the largest importer of luxury vehicles to this state.
   2   See Daimler, 134 S.Ct. at 752. Consequently, this is not an “exceptional case” in
   3   which Saint Lawrence’s business contacts with California are “so substantial” as
   4   to “essentially render it at home” in California. Id. at 761 n. 19.
   5         Ignoring Daimler, HTC’s general jurisdiction argument relies almost
   6   exclusively on dicta from a 1998 pre-Daimler case, Dainippon Screen Mfg. Co.,
   7   Ltd. v. CFMT, Inc., 142 F.3d 1266 (Fed. Cir. 1998). That reliance is misplaced.
   8         In Dainippon, the court found that CFMT was subject to general
   9   jurisdiction in California under pre-Daimler general jurisdiction doctrine because
  10   the company (1) derived substantial revenues from the California based sales of its
  11   parent; (2) maintained sales agents in California; and (3) had conducted
  12   negotiations in California. Id. at 1271. The Dainippon court held that “[t]hese
  13   facts are sufficient … to justify the imposition of personal jurisdiction over CFMT
  14   in California.” Id.
  15         In dicta4, the Dainippon court then went to observe that it was “reasonable
  16   and fair” to subject CFMT to personal jurisdiction in California because CFMT
  17   was “wholly owned” by a California parent company (CFM), who CFMT had
  18   granted “exclusive licenses to [its] patents in return for a ten percent royalty based
  19   on CFM’s net sales.” Id. at 1267 & 1271. Contrary to HTC’s forced reading,
  20   however, that dicta did not create any special exception to the usual jurisdiction
  21   analysis. See Seaflex, Inc. v. Fall Prot. Sys., Inc., 2007 WL 7239322, at *3 (S.D.
  22   Tex. Nov. 20, 2007) (“[T]he Circuit in Dainnipon addressed the question of
  23   whether jurisdiction was “reasonable and fair” only after determining that the out-
  24   of-state company had, in fact, established minimum contacts with the forum
  25   4
         Simmons Bedding Co. v. Leggett & Platt, Inc., 2012 WL 11909449, at *5 (W.D.
  26   Wis. Mar. 27, 2012) (“Given that the court had already found sufficient minimum
  27
       contacts attributable directly to the subsidiary, this broad statement—as to the
       fairness of exercising personal jurisdiction over a wholly—owned subsidiary based
  28   on the conduct of its parent company is arguably no more than dicta.”).
                                        13
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 21 of 34 PageID #: 841



   1   state.”) Dainippon has no application here.
   2         First, Dainippon’s finding that general jurisdiction existed on the basis of
   3   CMFT’s California revenues, sales agents, and sporadic negotiations does not
   4   comport with Daimler, which rejected general jurisdiction on the basis of
   5   substantially greater contacts that those presented here or in Dainippon. In light
   6   of Daimler’s caution that even “substantial, continuous, and systematic” business
   7   within a state cannot justify an exercise of general jurisdiction when the defendant
   8   is not “at-home” in that state, Dainippon is inconsistent with Daimler and should
   9   not be followed.
  10         Second, Dainippon is distinguishable on the facts. Unlike CFMT, Saint
  11   Lawrence is not “wholly owned” by a California company. Saint Lawrence is
  12   wholly owned by Acacia Research Group LLC, a Texas corporation
  13   headquartered in Plano, Texas. Key Dec. ¶ 4. HTC’s opposition conveniently
  14   ignores the fact that Acacia Research Corporation—the California company on
  15   which HTC rests its jurisdictional arguments—has no direct ownership interest in
  16   Saint Lawrence.
  17         Nor has Saint Lawrence granted Acacia Research Corporation an
  18   “exclusive license” to monetize and enforce the HD Voice patents at issue here.
  19   Haynes Dec. ¶ 13. Indeed, Acacia does not have any license or contract for these
  20   patents. Id. The HD Voice patents are solely owned by Saint Lawrence. Key
  21   Dec. ¶ 7. Consequently, there is no unity of ownership between Saint Lawrence
  22   and Acacia Research Corporation.
  23         Third, HTC fails to inform the Court that in these circumstances, where the
  24   parent has no exclusive license agreement to exploit the patents, courts have
  25   repeatedly refused to apply Dainippon. See Delano Farms Co. v. Cal. Table
  26   Grape Com’n, 623 F.Supp.2d 1144 (E.D. Cal 2009) (“unlike in Dainippon, there
  27   is no unity of ownership or interest between the patent owner and licensee”); Ali
  28   v. Carnegie Inst. of Wash., 306 F.R.D. 20, 29 (2014) (while the parent and
                                        14
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 22 of 34 PageID #: 842



   1   subsidiary’s “ownership interests overlap, they are not identical … as in
   2   Dainippon”) (emphasis in original); See Ergo Licensing, LLC v. Cardinal Health,
   3   Inc., 2009 WL 2021926, at *4 (D. Maine July 13, 2009) (refusing to apply
   4   Dainippon where it was “apparent from the pleadings and the parties’ memoranda
   5   that there is no licensing or other arrangement between” the subsidiary and its
   6   parent “with respect to the patent at issue”).
   7         Saint Lawrence has no offices, property, bank accounts, telephone listings,
   8   or mailing addresses in California; it is not licensed to do business in California; it
   9   has never had a registered agent in California; it has never advertised in
  10   California; and it has never manufactured or sold products in California. Key
  11   Dec. 2-4. Thus, the record reflects that Saint Lawrence had only “isolated and
  12   sporadic” contacts of the type “insufficient to support general jurisdiction.”
  13   Petzilla, Inc. v. Anser Innovation LLC, 2014 WL 474434 (N.D. Cal. Sept. 23,
  14   2014) (finding no general jurisdiction where patent holder had no California
  15   offices, bank accounts, or property, was not licensed to do business in California,
  16   had no registered agent, and did not target California with advertising).
  17      B. Saint Lawrence is not an alter-ego of Acacia Research Corporation.
  18         To demonstrate alter ego status, a plaintiff must prove both (1) that the
  19   parent controls “the subsidiary to such a degree as to render the latter the mere
  20   instrumentality of the former” and (2) that there is “enough evidence to support a
  21   finding that failure to look past the corporate entity would sanction a fraud or
  22   promote injustice.” Calvert v. Huckins, 875 F. Supp. 674, 678 (E.D. Cal. 1995)
  23   (citations omitted). HTC fails to meet its burden on either prong of this test.
  24         1. No showing of financial fraud.
  25         Saint Lawrence’s motion to dismiss must be granted because HTC
  26   produced no evidence whatsoever going to the second requirement for piercing
  27   the corporate veil—that failure to do so would “sanction a fraud or promote
  28
                                        15
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 23 of 34 PageID #: 843



   1   injustice.” Calvert, 875 F.Supp. at 678. Indeed, HTC entirely failed to address the
   2   fraud prong in its opposition to Saint Lawrence’s motion to dismiss. (Opp. at 15).
   3   Accordingly, the Court is required to dismiss with prejudice.          See No Cost
   4   Conference, Inc. v. Windstream Comm., Inc., 940 F. Supp. 2d 1285, 1298 (S.D.
   5   Cal. 2013) (“Here, an in-depth discussion of this theory is unnecessary because, as
   6   Defendants note, No Cost only addresses the first element of the alter ego test.
   7   Consequently, because No Cost has not established both elements of the alter ego
   8   test, the Court finds that No Cost cannot rely on this theory to bring its …
   9   claims.”).
  10         Nor does the bare, unsupported allegation in HTC’s complaint save HTC
  11   from dismissal.
  12         First, the complaint merely alleges in a single, conclusory sentence that
  13   “[a]llowing Acacia Research to avoid jurisdiction and venue through an alter ego
  14   shell company would be unjust.” Comp. at ¶ 11. But HTC’s single “conclusory
  15   allegation … is insufficient to demonstrate the kind of fraud or injustice necessary
  16   to invoke the extraordinary remedy of asserting personal jurisdiction via the alter
  17   ego theory and ignoring the “general presumption in favor of respecting the
  18   corporate form.” NuCal Foods, 887 F. Supp. 2d at 993.
  19         Second, HTC essentially suggests that Saint Lawrence should be subject to
  20   general jurisdiction for forum shopping.         “That argument is unpersuasive,
  21   however, as forum shopping, if it constitutes ‘fraud’ at all, is not the type of fraud
  22   with which the alter ego theory is concerned.” Boston Scientific Corp. v. Wall
  23   Cardiovascular Technologies, LLC, 647 F. Supp. 2d 358, 367 (D. Del. 2009).
  24   The kind of “fraud” required to establish alter ego status is financial fraud:
  25   “[U]nder California law the kind of inequitable result that makes alter ego liability
  26   appropriate is an abuse of the corporate form, such as under-capitalization or
  27   misrepresentation of the corporate form to creditors.” Firstmark Capital Corp. v.
  28   Hempel Financial Corp., 859 F.2d 92, 94 (9th Cir.1988) (citations omitted).
                                        16
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 24 of 34 PageID #: 844



   1         HTC makes no allegations of financial fraud or similar misdeeds. There is
   2   not even a suggestion that Saint Lawrence is undercapitalized, see Wells Fargo &
   3   Co. v. Wells Fargo Exp. Co., 556 F.2d 406, 425 (9th Cir.1977), nor that efforts
   4   have been made by Acacia to strip Saint Lawrence of assets in order to avoid
   5   liability. NuCal Foods, Inc. v. Quality Egg LLC, 887 F. Supp. 2d 977, 993 (E.D.
   6   Cal. 2012).      Indeed, Saint     Lawrence    has   presented substantial—and
   7   uncontradicted—evidence to the contrary.         Saint Lawrence is not only
   8   substantially capitalized, but also has sole ownership of the valuable HD Voice
   9   patents. See Key Dec. ¶¶ 6-7. Haynes Dec. ¶¶ 18-22.
  10         Under these circumstances, HTC has “failed to make any showing at all that
  11   refusal to pierce the corporate veil will result in any injustice or unfairness.”
  12   Calvert, 875 F. Supp. 674, 679-80 (E.D. Cal. 1995); see also NuCal Foods, 887 F.
  13   Supp. 2d 977 at 993 (E.D. Cal. 2012) (dismissing for failure to establish fraud
  14   where plaintiff “neither allege[d] in its complaint, nor proffer[ed] any evidence,
  15   that either defendant [were] currently underfunded or non-operational”); see also
  16   Sonora Diamond Corp. v. Superior Court, 83 Cal. App. 4th 523, 539-40 (2000)
  17   (“[A]t least one of the two essential elements of the alter ego doctrine was not
  18   established [when] there was no evidence of any wrongdoing by either
  19   [Defendant]”).
  20         2. No showing of unity of interest.
  21         HTC’s argument that Saint Lawrence and Acacia are subject to a “unity of
  22   interest” is equally flawed. Saint Lawrence maintains separate bank accounts
  23   from Acacia, observes proper corporate formalities, has never co-mingled funds,
  24   and is adequately capitalized, enjoying annual licensing revenues in the millions
  25   of dollars. Key Dec. ¶ 6; Haynes Dec. ¶¶ 9-22. Those facts alone are far more
  26   than sufficient to establish Saint Lawrence’s independent corporate existence. See
  27   Katzir’s Floor & Home Design, Inc. v. M-MLS.com, 394 F.3d 1143, 1149 (9th
  28
                                        17
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 25 of 34 PageID #: 845



   1   Cir. 2004) (separate corporate existence established where corporations had
   2   separate bank accounts and had never co-mingled funds); Doe v. Unocal Corp.,
   3   248 F.3d 915, 928 (9th Cir. 2001) (same).
   4         Nor does HTC’s assertion that Saint Lawrence and Acacia share employees
   5   or directors change this outcome: “A parent corporation may be directly involved
   6   in financing and macro-management of its subsidiaries … without exposing itself to
   7   a charge that each subsidiary is merely its alter ego.” Doe, 248 F.3d at 928; see
   8   also See Kramer Motors, Inc. v. British Leyland, Ltd., 628 F.2d 1175, 1177 (9th
   9   Cir.1980) (finding no alter ego relationship where the parent company guaranteed
  10   loans for the subsidiary, reviewed and approved major decisions, placed several of
  11   its directors on the subsidiary’s board, and was closely involved in the subsidiary’s
  12   pricing decisions). Because HTC has not established a prima facie case for alter
  13   ego liability, Acacia’s contacts with California cannot be imputed to Saint
  14   Lawrence for purposes of personal jurisdiction.
  15      C. Saint Lawrence is not subject to specific jurisdiction.
  16         HTC also suggests Saint Lawrence is subject to “Specific Jurisdiction
  17   Based on Its Parents’ Contacts with This Forum.” (Opp. 13) (emphasis in
  18   original). But HTC’s opposition offers no argument or citations to authority in
  19   support of this bald assertion. Thus, “[g]iven the underdeveloped state of [HTC]’s
  20   argument, there is no need for the Court to address or analyze the issue.” See Hill
  21   v. City of Clovis, 2012 WL 787609, at *8 (E.D. Cal. Mar. 9, 2012).
  22         As discussed in Saint Lawrence’s motion, specific jurisdiction in patent cases
  23   exists only in two circumstances: (1) when the patent-holder has filed a patent
  24   infringement lawsuit on the same patents in the same forum or (2) when the patent
  25   holder has entered into an exclusive license agreement which imposes enforcement
  26   obligations on a party residing or regularly doing business in the forum. See Mot.
  27   12-13 (discussing Avocent Huntsville Corp. v. Aten. Intern. Co., 552 F.3d 1324,
  28
                                        18
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 26 of 34 PageID #: 846



   1   1332-33 (Fed. Cir. 2008)).
   2         Neither prong is satisfied here. Saint Lawrence has never filed a patent
   3   infringement lawsuit in California; nor has Saint Lawrence ever entered into any
   4   exclusive licensing agreements for its HD Voice technology with any company.
   5   Key Dec. ¶¶ 8-9. Consequently, no basis exists for asserting specific jurisdiction
   6   over Saint Lawrence under controlling Federal Circuit precedent.
   7      D. No jurisdictional discovery is warranted.
   8         Jurisdictional discovery may be granted “where pertinent facts bearing on
   9   the question of jurisdiction are controverted or where a more satisfactory
  10   showing of the facts is necessary.” Data Disc., Inc. v. Sys. Tech. Assoc., Inc., 557
  11   F.2d 1280, 1285 n.1 (9th Cir. 1977) (emphasis added). But the court is vested
  12   with “broad discretion” in making that determination. Id. Indeed, when the
  13   request is “based on little more than a hunch that it might yield jurisdictionally
  14   relevant facts,” no further discovery is warranted. Boschetto v. Hansing, 539 F.3d
  15   1011, 1020 (9th Cir. 2008).
  16         Jurisdictional discovery is not warranted here because HTC has failed to
  17   make even a prima facie case for personal jurisdiction. As demonstrated above,
  18   HTC failed to allege a single fact that would support the fraud prong of its general
  19   jurisdiction argument. (See Opp. at 15). Likewise, HTC did not offer a single fact
  20   (much less argument) in support of specific jurisdiction. (See Opp. at 13-14).
  21   Bare allegations—without anything more—do not entitle HTC to anything.
  22   “[W]here a plaintiff’s claim of personal jurisdiction appears to be both attenuated
  23   and based on bare allegations in the face of specific denials made by the
  24   defendants, the Court need not permit even limited discovery.” Pebble Beach Co.
  25   v. Caddy, 453 F.3d 1151, 1160 (9th Cir. 2006); see also Xilinx, Inc. v. Papst Lics.
  26   GMBH, 2015 WL 4149166, at * 13 (declining to award jurisdictional discovery
  27   where plaintiff’s request was based on “little more than a hunch”).
  28
                                        19
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 27 of 34 PageID #: 847



   1          Any further jurisdictional discovery would be a waste of resources for both
   2   the parties and this Court. Accordingly, the Court should decline HTC’s request.
   3   III.   The public and private transfer factors strongly favor transfer to Texas.
   4          Section 1404(a) provides that a district court may transfer any civil action
   5   “[f]or the convenience of the parties and witnesses, in the interest of justice.” 28
   6   U.S.C. § 1404(a). In making this determination, courts consider both public and
   7   private interest factors. See Amazon.com v. Cendant Corp., 404 F. Supp. 2d 1256,
   8   1259 (W.D. Wash. 2005) (summarizing factors) (citing Decker Coal Co. v.
   9   Commonwealth Edison Co., 805 F.2d 834, 843 (9th Cir.1986)).
  10          The private factors weigh strongly in favor of transfer, and HTC’s
  11   opposition essentially ignores the public interest factors, effectively conceding
  12   that transfer is appropriate. (See Opp. 20-25).
  13      A. The public interest factors weigh strongly in favor of transfer.
  14          Judicial economy: Among the public and private interest factors, “[t]he
  15   interest of justice factor is the most important of all.” Amazon.com, 404 F. Supp.
  16   2d at 1261.    “Consideration of the interest of justice, which includes judicial
  17   economy, ‘may be determinative to a particular transfer motion, even if the
  18   convenience of the parties and witnesses might call for a different result.’” Regents
  19   of the University of California v. Eli Lilly and Company, 119 F.3d 1559, 1565
  20   (Fed.Cir.1997).   In considering the interests of justice, the Court weighs such
  21   factors as “ensuring speedy trials, trying related litigation together, and having a
  22   judge who is familiar with the applicable law try the case.” Heller Financial, Inc.,
  23   v. Midwhey Powder Co., 883 F.2d 1286, 1293 (9th Cir.1989).
  24          These considerations are particularly relevant in patent litigation because
  25   when “several highly technical factual issues are presented … the interest of
  26   judicial economy may favor transfer to a court that has become familiar with the
  27   issues.” Regents, 119 F.3d at 1565. That is the case here.
  28
                                        20
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 28 of 34 PageID #: 848



   1           HTC misleadingly asserts that Saint Lawrence has failed to show that “its
   2   pending actions in Texas … are related to this dispute beyond the fact they
   3   involve the same patents.” (Opp. 24). That assertion is false. As the relevant
   4   complaints make clear, Saint Lawrence’s claims against HTC’s cell phones are
   5   essentially identical to the claims in the pending patent infringement lawsuits in
   6   Texas against LG Electronics, Motorola, and ZTE. Compare Johnson Dec. Ex. A
   7   with Exs. D-F. These four lawsuits involve not only overlapping claims on the
   8   same five patents but will also require the same claim construction analysis to
   9   resolve the disputes. Id. at ¶ 9. Moreover, “it is inconsistent for [HTC] to argue
  10   that the cases are not similar when it was [HTC] who filed a ‘notice of related
  11   action’ in [this] action.” Amazon.com, 404 F. Supp. 2d at 1261. (See Dkt. 11).
  12           HTC’s suggestion that this Court is in as good a position to manage this
  13   case as Judge Gilstrap ignores the long history of current and past litigation over
  14   Saint Lawrence’s HD Voice patents in the Eastern District of Texas and the
  15   tremendous inefficiencies that would result if this Court were to address the same
  16   matters at the same time. All five HD Voice patents at issue here are currently
  17   before the Texas court. Anaipakos Dec. ¶ 2-3. Claim construction briefing and a
  18   corresponding technical tutorial addressing 74 claim terms, including over 40
  19   indefiniteness arguments, are currently pending before the court in the LG
  20   Electronics matter. Johnson Dec. ¶ 8. That case is set for trial before Judge
  21   Gilstrap in April 2016. Judge Gilstrap is also currently scheduled to construe the
  22   HD Voice patents in the Motorola and ZTE cases in January, with trial in July
  23   2016.     The underlying technology in all these cases is the same and the
  24   infringement issues involve the same technical concepts. Johnson Dec. ¶ 8.
  25           There is no reason to ignore Judge Gilstrap’s experience with these five HD
  26   Voice patents. Nor is there any reason for this Court to repeat and redo claim
  27   construction that the Texas court will perform and complete in the pending cases.
  28   Judge Gilstrap has already been managing these cases for the last two years. On
                                        21
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 29 of 34 PageID #: 849



   1   the other hand, this Court does not have any prior experience or investment in
   2   these matters. Transfer or dismissal is thus the correct outcome here because “the
   3   existence of multiple lawsuits involving the same issues is a paramount
   4   consideration when determining whether a transfer is in the interest of justice.” In
   5   re Volkswagen of Am., Inc., 566 F.3d 1349, 1351 (Fed. Cir. 2009).
   6         HTC also erroneously relies on Children's Network, LLC v. PixFusion LLC,
   7   722 F. Supp. 2d 404, 415 (S.D.N.Y. 2010). But in that case, there were no
   8   overlapping or even similar products between the patent holder’s infringement
   9   suits in one forum and the plaintiff’s declaratory judgment action in a different
  10   forum. Here, the four lawsuits involve identical products—i.e., cellphones—
  11   raising identical claims on identical patents.         Children’s Network is thus
  12   inapposite, and has no application on the facts presented here.
  13         By contrast, Cisco Systems, Inc. v. Tivo, Inc., 2012 WL 3279532 (N.D. Cal.
  14   Aug. 12, 2012) is directly on point. In Cisco, Tivo moved for transfer on the
  15   grounds that it was currently “in active litigation against Verizon, Motorola, Time
  16   Warner, and Cisco, in the E.D. Tex., in three cases pending before the same
  17   presiding judge” involving the same patents and products. Id. at *2. The court
  18   found transfer to the Eastern District of Texas was mandated by judicial economy
  19   “in light of its ‘head start in these [patent] matters.” The same result applies here.
  20         Texas’s localized interest: The EDTX has a much stronger connection to
  21   this case than the CDCA. Saint Lawrence is a Texas corporation, headquartered
  22   within the Eastern District in Plano, Texas. By contrast, HTC America is a non-
  23   California resident, headquartered and incorporated in the state of Washington, and
  24   its corporate parent, HTC Corporation is located in Taiwan. Texas citizens have a
  25   “substantial interest” in deciding the rights of a resident corporation like Saint
  26   Lawrence, “particularly where the litigation centers on alleged violations of that
  27   corporation’s rights.” See Paragon Indus., L.P. v. Denver Glass Machinery, Inc.,
  28   2008 WL 3890495, at *3 (N.D. Tex. Aug. 22, 2008). Given that California citizens
                                        22
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 30 of 34 PageID #: 850



   1   have no countervailing interest, this factor weighs strongly in favor of transfer.
   2         Administrative difficulties related to court congestion: Court congestion
   3   weighs in favor of transfer because Saint Lawrence’s case will go to trial sooner in
   4   the EDTX. In re Hoffmann-La Roche Inc., 587 F.3d 1333, 1336 (Fed. Cir. 2009)
   5   (ordering transfer on grounds that the transferee “district’s less congested docket
   6   suggests that the Eastern District of North Carolina may be able to resolve this
   7   dispute more quickly.”). According to statistics from Lex Machina, 73.3% of
   8   patents cases filed in the CDCA over the last five years get to trial in 3 years and
   9   196 days. Johnson Dec. Ex. S. By contrast, the time to trial in the EDTX averages
  10   2 years and 284 days. Id. Ex. T. This factor therefore weighs in favor of transfer.
  11      B. The private interest factors—location of evidence and witnesses,
             compulsory process, and litigation costs—weigh strongly in favor of
  12         transfer.
  13         Both Saint Lawrence and its corporate parent, Acacia Research Group LLC
  14   are located in the EDTX, including its Chief Executive Officer, Marvin Key, and its
  15   Vice President, Holly Hernandez. Haynes Dec. ¶ 10. Numerous other Acacia LLC
  16   employees also work in Plano. Haynes Dec. ¶ 17. By contrast, HTC has no
  17   connection to the CDCA. Indeed, the only two witnesses that HTC specifically
  18   identifies in the Central District are two Acacia in-house attorneys, Cristin Wagner
  19   and David Rosmann. (Opp. 21); Wagner Dec. ¶ 1; Rosmann Dec. ¶ 1. But the
  20   location of in-house counsel is irrelevant in assessing convenience factors. In re
  21   Google Inc., 2014 WL 5032336, *3 (Fed. Cir. 2014) (location of in-house counsel
  22   not entitled to weight in assessing the convenience factors); In re Horseshoe Entm't,
  23   337 F.3d 429, 434 (5th Cir. 2003) (“The factor of ‘location of counsel’ is irrelevant
  24   and improper for consideration in determining the question of transfer of venue.”).
  25         HTC attempts to remedy this obvious problem by alleging that certain
  26   unnamed, non-party “Qualcomm employees who work in Southern California”
  27   might be relevant to this dispute. (Opp. 21). This argument fails for two reasons.
  28
                                        23
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 31 of 34 PageID #: 851



   1   First, HTC fails to identify a single Qualcomm witness from Southern California.
   2   Consequently, this is a non-factor. See Stragent, LLC v. Pioneer Elecs. Inc., 2013
   3   WL 8467476, at *5 (E.D. Tex. May 8, 2013) (giving no weight to unidentified
   4   witnesses); Ivera Med. Corp. v. Hospira, 2011 WL 1882277, at *2 (E.D. Tex. May
   5   17, 2011) (same).
   6         Second, HTC fails to inform the Court that the Qualcomm engineers
   7   responsible for creating the infringing processors, including the Qualcomm
   8   Snapdragon system-on-chips used in the infringing HTC cell phones—are located
   9   at design centers in Raleigh, North Carolina and Austin, Texas—not Southern
  10   California. Johnson Dec. ¶ 17; Exs. G-R. Qualcomm’s Texas design center is also
  11   responsible for the Snapdragon’s digital processing core, the Hexagon DSP, which
  12   processes the audio codecs in the accused products and is relevant to the infringing
  13   functionality. Id. at Ex. L. As a result, the relevant documents relating to the chips’
  14   design and operation will be found in Texas, not California.
  15         Further, Saint Lawrence has already identified over 15 engineers based at
  16   Qualcomm’s Texas design center with relevant knowledge of the design and
  17   operation of the Qualcomm chips at issue in this case. Id. at R. These witnesses
  18   include:   Qualcomm’s Vice President of Engineering, Willie Anderson, who
  19   oversees the Austin processor design team; Qualcomm’s Senior Director of
  20   Technology, Lucian Codrescu; and Rob Marshall, a Director of Engineering for the
  21   chip engineering teams. Id. HTC cannot deny that the Texas court has subpoena
  22   power over all these identified Qualcomm witnesses. Moreover, trial in California
  23   would make access to these sources of proof more inconvenient.            “Because a
  24   substantial number of material witnesses reside within the transferee venue and the
  25   state of [Texas], and no witnesses reside within the [Central District of California],”
  26   this factor “weigh[s] substantially in favor of transfer.” In re Genentech, Inc., 566
  27   F.3d 1338, 1345 (Fed. Cir. 2009).
  28         Likewise, “[i]n patent infringement actions, the preferred forum is ‘that
                                        24
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 32 of 34 PageID #: 852



   1   which is the center of gravity of the accused activity.” Amazon, 404 F.Supp.2d at
   2   1260. In this case, Texas is the center of gravity where Qualcomm developed the
   3   infringing chips and HTC sold its infringing cell phone products.
   4         Finally, the differences in litigation costs clearly favor trial in Texas. HTC’s
   5   witnesses—all of whom are based in Washington or Taiwan—will be forced to
   6   travel regardless of whether this case is heard in Texas or California, making this a
   7   non-factor. See Cento Group, S.p.A. v. OroAmerica, Inc., 822 F.Supp. 1058, 1061–
   8   62 (S.D.N.Y.1993) (European plaintiff was no more inconvenienced by litigating in
   9   California than in New York); Ricoh Co. v. Honeywell, Inc., 817 F.Supp. 473, 484
  10   (D.N.J.1993) (plaintiff’s witnesses from Japan were no more inconvenienced by
  11   testifying in Minnesota than in New York). By contrast, forcing Saint Lawrence
  12   and the relevant Texas Qualcomm employees to travel to California will impose a
  13   needless “waste of time, energy, and money.” See Van Dusen v. Barrack, 376 U.S.
  14   612, 616 (1964) (holding purpose of Section 1404(a) is to “prevent the waste ‘of
  15   time, energy, and money’ and ‘to protect litigants, witnesses and the public against
  16   unnecessary inconvenience and expense.”) (citations).
  17         HTC filed suit in the Central District to delay and disrupt the pending Texas
  18   cases. But there is no reason why this Court should open up a second forum to re-
  19   litigate the same patents and products; nor is there good reason for this Court to
  20   redo the 74 claim constructions pending before Judge Gilstrap. In the interests of
  21   justice and efficiency, this case should be transferred or dismissed.
  22

  23

  24

  25

  26

  27

  28
                                        25
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 33 of 34 PageID #: 853



   1   Dated: August 31, 2015
                                              Respectfully submitted,
   2
                                              /s/ Foster C. Johnson            .
   3                                          Foster C. Johnson
                                              California Bar No. 289055
   4                                          Alisa A. Lipski
                                              California Bar No. 278710
   5                                          AHMAD, ZAVITSANOS, ANAIPAKOS,
                                              ALAVI & MENSING P.C
   6                                          1221 Mckinney Street, Suite 3460
                                              Houston, TX 77010
   7                                          Telephone: 713-655-1101
                                              Facsimile: 713-655-0062
   8
                                              ATTORNEYS FOR DEFENDANT
   9                                          SAINT LAWRENCE
                                              COMMUNICATIONS LLC
  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                        26
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
Case 2:15-cv-01510-JRG-RSP Document 30 Filed 08/31/15 Page 34 of 34 PageID #: 854



   1                             CERTIFICATE OF SERVICE
   2
             The undersigned hereby certifies that all counsel of record who are deemed
   3
       to have consented to electronic service are being served with a copy of this
   4
       document via the Court’s ECF System on the 31st day of August, 2015.
   5

   6
                                                /s/ Foster C. Johnson
   7                                            Foster C. Johnson
   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                        27
       SAINT LAWRENCE’S REPLY ISO MOTION TO DISMISS; NO. 8:15-CV-00378-CJC-DFM
